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UNITED STATES DISTRICT CouRT _D4O4%6 7

FOR THE EASTERN DISTRICT OF MICHIGAN 14 y
SOUTHERN DIVISION

ACS CONSULTANT COMPANY, INC. {/k/a a
SUPERIOR CONSULTANT COMPANY, Exhibits A-T

INC., a Michigan Corporation,
Case: 2:06-cv-11301
oo. Assiqned To: Zatkoff, Lawrence P
Plaintiff, Referral Judge: Capel, Wallace
Filed: 03-29-2006 At 12:15 PM
Vv. CMP ACS CONSULTANT CO V. WILLIAMS,
ET AL (TAM)

WILLIE WILLIAMS, RYLAND HAMLET, and
RAUL MESTRIL, Individuals, and
HEALTHCARE INFORMATICS TECHNICAL
STAFFING, LLC, a California Limited Liability
Company,

Defendants.

Carey A. DeWitt (P36718)
Elizabeth A. DuMouchelle (P45462)
Gregory N. Blase (P66079)
BUTZEL LONG

Suite 100, 150 West Jefferson
Detroit, Michigan 48226-4450

(313) 225-7000

Attorneys for Plaintiff

 

VERIFIED COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

Plaintiff, ACS Consultant Company, Inc., fk/a Superior Consultant Company, Inc.
(“Superior,” “ACS” or “Company”), by its attorneys, BUTZEL LONG, states as follows:
INTRODUCTION
1, This action arises out of various torts and breaches of contract, and violations

of the Michigan Uniform Trade Secrets Act.

 
 

 

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JURISDICTION AND PARTIES

2. The amount in controversy exceeds $75,000.00, exclusive of interest, costs and
attorney fecs.

3. Jurisdiction exists in this Court pursuant to Title 28, United States Code §1332.

4. Plaintiff ACS is a Michigan corporation doing business in the State of
Michigan, with its principal place of business at 5225 Auto Club Drive, Dearborn, Michigan
48126.

5. Defendant, Willie Williams (“Williams”), is a citizen of the Slate of Califomia,
residing at 404 E. First St #140, Long Beach, Califorma 90802.

6. Defendant, Ryland Hamlet (“Hamlct”), is a citizen of the State of California,
residing at 2824 Nora Lane, Modesto, California 95355.

7. Defendant, Raul Mestril (“Mestril”), is a citizen of the Siale of Florida,
residing at 1425A SW 107 Avenue, Miami, Florida 33174.

8. Defendant HCI Technical Staffing LLC (“HCI”) is a California Limited
Liability Company with its principal place of business at 355 Gellert Blvd #230, Daly City,
Califomia 91737. Tis registered agent is Scot Oster and registered agent address is 41
Peninsula Center 7000-31, Rolling Hills Estates, California 90274,

GENERAL ALLEGATIONS

9, ACS is an information technology und management consulting company,
providing information technology and business process outsourcing services, and information
technology and management consulting services, integrated solutions, application software
implementation, and enterprise application intcgration, principally to companics in healthcare

industries, including healthcare providers such as hospitals and integrated healthcare delivery
   

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systems, and vendors of software and information systems. (See Exhibit A, portions of ACS’
website.)

10. ACS was incorporated in 1984 and has continuously been in existence since
that time. (Exhibit B) From October 1996 to the present time ACS has been a wholly owned
subsidiary of ACS Consultant Hoidings Corporation, a Delaware Corporation (“Holdings”).
Effective January 27, 2005, Holdings became a wholly owned subsidiary of Affiliated
Computer Services, Inc., a publicly traded (NYSE: ACS) Fortune 500 corporation. Following
the acquisition, Superior remains a wholly owned subsidiary of Holdings, which is now a
wholly owned subsidiary of Affiliated Computer Services, Inc. Following the acquisition by
Affiliated Computer Services, Inc., Holdings, the Delaware corporation, was renamed “ACS
Consultant Holdings Corporation”; and Superior Consuliant Company, Inc., the Michigan
corporation, was renamed “ACS Consultant Company, Inc.” In connection with the name
change, the Michigan Corporation also registered an assumed name, “Superior Consultant
Company.” The corporate entity Superior, the Michigan corporation founded in 1984 has
continued its existence without interruption since that time. Superior/ACS was Hamlct’s
cmploycr, without interruption, from the commencement of his employment in November
2004 until his termination on March 8, 2006. Throughout the entire term of his employment,
November 2004 through March 8, 2006, Hamlet’s Employment Agreement was always with
Superior, sce Exhibit F, and his paychecks were at all times issued by Superior/ACS. The
acquisition of Holdings by Affiliated Computer Services, Inc. in January 2005 occasioned no

change in the employment relationship between Liamlet and Supenor.

11. ACS hired Defendant Williams effective July 5, 2005, as an Executive

Director. On his employment application, Williams listed Defendant Mestril as a reference.
 

 

 

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(Exhibit C) He was assigned to a large scale implementation of Epic Systems Corporation’s
(“EPIC”) software and other various projects at Kaiscr-Permanente (“Kaiscr”) in Southern
California (“the Kaiser Project”). Kaiser is one of the largest Amcrican healthcare systems
(Exhibit BD) and an extremely important client of ACS. The Kaiser Project is a critical and
complex EPIC implementation project requiring onsite assignment there of numerous highly
talented and specialized ACS cmployees. Williams’ utle at the Kaiser Project was
Engagement Manager — the top ACS onsite cxccutive manager at the Kaiser Project. His job
responsibilities inchided the oversight of more than 160 ACS employees working at the site of
the Kaiser Project. All ACS managers at the Kaiser Project reported to Williams. While

employed at ACS, Williams received training in the ACS cthics policy.

12. Because of Williams’ position at ACS, by virtuc of which he would be
exposed to the sensitive, proprietary, and trade scerct information of ACS, particularly the
ACS employee skills bank and client databascs in connection with his top cxecutive position
at the Kaiser Project, the cmployment agreement that the Company had Williams sign on June
22, 2005 (“Williams EA”) contained certain provisions designed to protect the Company’s
interests in its confidential information. Dan Sak, Director of Human Resourecs for ACS,
signed the Williams EA on behalf of ACS on June 15, 2005. (Exhibit E)

13. ACS hired Defendant Hamlet effective November 15, 2004 as a Senior
Management Consultant. Hamlet was assigned to ihe Kaiser Project as a Field Manager and.
was to work closely with the Engagement Manager — Williams. His job duties mcluded
management of all ACS employees and subcontractors on site, including their training,
certification, expenses, time management, and process flows. Hamlet reccived training im

EPIC software and the ACS ethics policy.
 

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14. Because of Hamlet’s management position, by virlue of which he would be
exposed to the sensitive, proprietary, and trade secret information of ACS, the employment
agreement that the Company had Hamlet sign on November 11, 2004 (“Hamlet EA”)
contained certain provisions designed to protect the Company’s interests in its confidential
information, Dan Sak, Director, HR, signed the Hamlet EA on behalf of ACS on November
4, 2004. (Exhibit F).

15. ACS bired Defendant Mestril effective October 3, 2005 as a Manager. On his
new hire checklist, Williams was noted as the ACS employee referral. (Exhibit G) Mestril
was assigned to the Kaiser Project as a Recruiting Manager. His job duties included
management of all recruiting activities al the Kaiscr Project, including EPIC certification. He
was required to create and manage all process flows related to recruiting. Hamict reported
directly to Williams and worked closely with Hamlet.

16. Because of Mestril’s management position, by virtue of which he would be
exposed to the sensitive, proprietary, and trade secret information of ACS, the employment
agreement that the Company had Mestril sign on September 28, 2005 (“Hamlet EA”)
contained certain provisions designed to protect the Company's interests in its confidential
information. Susan M. Synor, Senior Vice President, signed the Mestril EA on behalf of ACS
on September 27, 2005. (Exhibit H).

17, Williams, Hamict and Mestril traveled to Michigan during their employment
with ACS. In their management capacitics, Williams, Hamlet and Mestril maintained regular
contact with ACS’ Michigan headquarters and offices. They traveled to Michigan in the

performance of their dutics for ACS, e.g, atlending quarterly meetings.
 

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18.

Williams, Hamlet, and Mestril cach agreed, among other things, to the

following terms in cach of the Williams EA, the Hamlet EA, and the Mestril EA (collectively

“Agreements”):

18.

9.

Choice of Law and Forum: This Employment Agreement will be governed by
and interpreted in accordance with the laws of the State of Michigan.

 

Any action arising oul of this Agreement or the termination of this Agreement,
or the performance of services under this agreement, or the relationship
between the partics cstablished herein, shall be bronght only in the Oakland
County Circuit Court, Michigan, or United States Distnict Court for the Eastern
District of Michigan, Southern Division at Detroit, Michigan, and Employee
hereby consents to and submits to the jurisdiction of either of such courts for
such purpose.

Company Resources: The Employee recognizes that all company resources of
any kind and nature including but not limited to personnel, equipment and
telephones; softwarc; written materials, methods and procedures; client and
prospect names, files and documentation arc the sole properly of the Company
and shall not be used for personal or any olher non-company use.

Other Gainful Employment: The Employee shall devote full employment
energies, abilities and time to the performance of services hereunder. The
Employee is prohibited from performing services similar to those offered by
[the Company] on behalf of any other company, organization, individual or
legal entity. Further, the Employee must seek written approval of the
Company prior to engaging in any cmployment of any nature, similar to the
Company's services or otherwise.

 

Non-competition:

(a) No Recruitment of Company Personnel: In consideration of employment
with the Company, the employee is prohibited, during employment and for
a period of two (2) years following termination of employment for any
reason, from recruiting, on behalf of him or herself, or on behalf of any
third party, any employces of the company either directly or indirectly,
specifically including, without limitation, identification to a third party
(including, without limitation, recruiting agencies, employers and
prospective employers) employees of thc Company or any of its
subsidiaries or affiliates.

(b) Restrictions on Solicitation of Company Clents: In consideration of
employment with the Company, the employee is prohibited, during
employment and for a period of six (6) months following termination of
employment for any reason, from (1) soliciting busmess and/or performing
services via ditect employment or through a party other than the Company,
 

 

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HH.

its subsidiaries or affiliates, for clients of the Company or prospective
clients of the Company for whom the employee, during the twelve (12)
month period immediately preceding termination of employment, was
directly involved in the delivery of products or performance of services, or
was personally involved in a relationship management role or in sales or
marketing efforts; (2) soliciting, individually or on behalf of any person or
entity, to perform, or performing services for, or referring to or advising
any person or entity about, an opportunity to perform services for any
client or prospective client of ACS wherc employee learncd of the
opportunity for that work while employee was employed by ACS.

(c} No Competitive Business Involvement: In consideration of employment
with the Company, the employee is prohibited, during employment and for
a period of six (6) months following termination of employment from
engaging in healthcare information systems consulting, management

consulting or other businesses competitive wilh the Company. !

(d) Survival: The non-competition provisions contained herein shall survive
termination of employment.

Proprietary Rights: The employee agrees that all work and creation of work
products associated with this Employment Agreement arc deemed work for
hire for the company. In consideration of employment with ACS the employee
assigns and iransfers to ACS all property rights of any kind and nature
(including without limitation royalties, other income and property rights) in
discoverics, inventions, patentable material, copyrightable materials (including
any writing, book, article, computer program, work method, film, recording or
graphic production) and other work products. The employee further agrces the
employee shall cause to be furnished to the company such instruments,
instructions, and documentation as the company may reasonably require to
insure that the aforesaid rights shall belong to the company. The employee
shall, upon request by ACS, return or destroy all proprictary information as so
directed by the company.

Confidential Information: The employee recognizes that in the course of
performance of work for the Company the employee will obtain access to
materials and information of [the Company], its subsidiaries and affiliates that
constitute trade secrcts and proprelary information of the company, its
subsidiaries and affiliates including, without limitation, descriptions of [the
Company’s], its subsidiarics’ and affiliates’ products and services, planned
products and services, busincss and marketing/sales plans, mergers and
acquisition targets, employee compensation plans, employee medical
information, the identitics of suppliers, customers and prospective customers,
identities of employees and prospective employees, prices and pricing policics
in whatever form received by employec, including without limitation, writen,

 

| Paragraph 9(c) does not appear in the Hamlct EA.
 

 

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voice, electronic or magnetic media or graphic display. The employee shall
not utilize any such information for any purpose other than the performance of
this Employment Agreement and shall not disclose any such information to
any third party. The employec shall, upon request by [the Company], return or
destroy, as directed by [the Company], any media in which such mformation is
recorded.

The employee shall also observe any restrictions with respect to the use and
disclosure of the confidential information of [the Company's] clients that are
specified in [the Company’s] scrvicc agreements with the clients, or that are
reasonably required by the clients.

The employee understands that his/her obligation of non-disclosure shall
survive termination of cmployment for any reason whatsoever.

14. Termination of Employment: In the event employment with the company is
terminated by cither the employee or the company, the employce agrees to retum all
materials acquired during the term of employment with the company. Specifically,
this is to include without limitation, computer disks, computers, work papers, manuals,
training manuals, notes, articles, phone lists, correspondence, proposals, addresses,
reports, phone cards, office keys and any and all material related to employment with
the company.

19. ACS’ business is national (and international) in scope. ACS has employces
residing in at least forty-cight (48) states, and has worked for clients in all fifty (50) states and
in countries around the world. Again, in their management and recruiting capacity,
Defendants were directly involved with the Company’s business on a multi-state level.

20. In their management capacity, Defendants werc intimately familiar with ACS’
(1) proprictary, sensitive, and confidential systems, components, information and matenals,
(2) most critical and competitively sensitive business relationships and imformatton, including
the data in ACS’ secure employee skills database and (3) most carefully guarded strategics
and initiatives. Such information included, but was not limited to, reports on application
delivery, sales reports for the company, rcvenuc forecasts, requests for proposal, requests for
bid, client correspondence, notes of site visits, marketing data, prospect meeting data,

proposals, contracts awarded, vendor recommendations, cmployee skills daiabase
 

 

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(“Novient”), employee contact information, agency and subcontractor relationships,
competitive bid mformation, client contact lists, customer information, internal strengths and
weaknesses, business plans, strategic planning, project costs, profit, margin, and forecasting
information, employee and prospective employee data, practice strategics, confidential
customer information, as well as a range of technical information concerning both ACS and
its customers (including staffing, systems, hardware and software applications). (See, e.g.
Exhibit 1)

21. On the occasions during the period Defcndants were employed with ACS they
attended quarterly meetings in Michigan and became privy to ACS’ proprietary training
courses and very sensitive information that they could use as management employees of ACS.
During the period of their employment, Defendants maintained contact with ACS’ Michigan
office in performing their job functions.

22, ACS uscs subcontractors to staff some of its consulting engagements. On or
about November 7, 2005, ACS entered into a Subcontractor Master Agreement (“ACS/HCI
Contract”) with HCI (Exhibit J). HCT is a technical staffing company. (Exhibit K, Hcl
website) The ACS/HCI Contract was executed on bchalf of HCI by Noelle Dayola as an
officer of HCI. (“Dayola”) Dayola is the wife of Hamlet. Neither Dayola nor Hamlet
disclosed their marital relationship to ACS. Hamlet is a principal of HCI. (Exhibit L)

23. Under the ACS/HCI Contract, HCI would provide subcontracting services
based on ACS work orders. ACS never issucd any work orders to HCL. HCI held itself out as
a preferred vendor to ACS. (Exhibit M)

24.‘ In addition to staffing consultant cngagements, HCT acts as a recruiting agency
that recruits, evaluates and presents candidates to healthcare facilities and to healthcare

consultants such as ACS.

 

 
 

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25. ACS has a large internal recruiting department, through which ACS finds and
hires employees for positions throughout the Company and for assignment to the Company's
clients’ projects. ACS has an incentive plan through which ACS encourages its employees to
recommend potential candidates for hire. If a recommended candidate is hired by ACS, the
referring employee is eligible for a bonus (“referral bonus”).

26, As an outside recruiting agency, HCI presented candidates with EPIC
experience to Hamlet, Mestril and Williams at Kaiser. As a result, ACS hired several HCI
candidates to work at the Kaiser Project implementing the EPIC software.

27. In December 2005, Hamlet approached an ACS employec assigned to the
Kaiser Project, and asked her to help recruit two to three ACS employees with EPIC
experience for a new opportunity at Sutter Health. Sutter Health is a large healthcare system
like Kaiser and has facilities all over California. (Exhibit N) Hamlet had worked at Sutter
Health - Memorial Medical Center in Modesto, California (“MMC”), and used MMC Chief
Information Officer Jennifer Sierras as a reference on his employment application. (Exhibit
©) Sutter Health is a very important client of ACS where ACS has provided consulting

services to Sutter Health.

28. The ACS employec (“First ACS Employee”), thinking that Hamlet meant the
placement of ACS employees at Sutter Health as part of an ACS engagement there, gave
Hamlet the names and profiles of a number of ACS cmployees. Also, mindful of ACS’
ongoing need for EPIC qualified consultants (and presumably hoping for an ACS referral
bonus), First ACS Employee gave to Hamlet several resumes of potential employment
candidates with EPIC experience. ACS employces at the Kaiser Project were instructed to

handle all recruiting matters through Mestril, Hamlct and Williams only. In addition, a

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second ACS employee (“Second ACS Employee”) at the Kaiser Project gave Hamlet resumes
of potential EPIC candidates for what Second ACS Employec thought were ACS projects.

29, The names of the persons whose resumes were given by First ACS Employee
and Second ACS Employee to Hamlet were never delivered by him to the ACS internal
recruiting and hiring process. Once of the persons referred to Hamlct by First ACS Employee
was later hired by Williams through HCT to work at the Kaiser Project. The individual’s ACS
hiring request listed him as an HCI candidate with an associated HCI placement fee, cven
though, on information and belief, the referral of the name to HCT came from inside ACS.

30. Later in January 2006, Hamlet told First ACS Employee that the EPIC
expericnced people he was looking for to place at Sutter Health were to be placed there
through a third party identified by Hamlet as “the Agency,” and not as ACS employees.
Hamlet iold First ACS Employee that First ACS Employee would have to resign from ACS
for the new opportunily at Suttcr Health. In addition, Hamlet told First ACS Employce that
Williams was on the board of “the Agency” and that First ACS Employee would receive
payments from the hourly wages of each person First ACS Employee recommended to “the
Agency.” Hamlet further told First ACS Employee that Willic Williams and Hamlet would
each also receive payments from the Agency based upon billable hours by candidates referred
by First ACS Employee. What Hamlet presented to First ACS Employee was, in effect, a
pyramid or “Ponzi” scheme. Hamlet also told First ACS Employce that they all would make
moncy but First ACS Employee would have to contnbute $10,000.00 of First ACS
Employee’s own moncy as a start.

31. On January 31, 2006, First ACS Employee contacted Susan Synor, Senior Vice
President at ACS, and expressed First ACS Employee's concems about Hamlet, Willams and

the placement of people through “the Agency.”

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32. ACS mounted an investigation and discovercd that Wilhams, Hamlet and
Mestril had breached their Agreements and misappropriated propnetary information and trade
secrets of ACS. On March 7, 2006, Susan Synor received a telephone call from a third ACS
employee assigned to work at the Kaiser project (‘Third ACS Employee”). Third ACS
Employee told Synor that on March 6, 2005, Third ACS Employee was approached by
Williams, who said that he would be leaving ACS soon and was looking to take seven to ten
top people with him to an account “up north that is really big.” Williams said that he wanted
Third ACS Employee on his team and wanted to meet with Third ACS Employee the next day
to talk more about the account “up north.” Third ACS Employee was able to confirm through
a subcontractor working for ACS at the Kaiser Project that “up north” meant Sutter Health
and that Willams, Hamlet and Mestril were all going there, Third ACS Employee then stated
to Synor that the morale among the ACS employees assigned was poor because people did not

trust Williams.

33. On March 8, 2006, ACS executives met with Williams and terminated his
employment based on their investigation. Williams stated that he would bring a racial
discrimination claim in connection with his termination. ACS confiscated Williams’
Company-issucd laptop. Later, a demand was made upon Williams for the return of all
Company materials, including the Company Blackberry. (Exhibit $) Other than the laptop
that was confiscated, Wilhams has never rcturncd any materials, meluding the Blackberry.
Next, ACS Executives met with Mestril and terminated Mestril’s employment, based also on
information obtained during the investigation. When ACS demanded retum of the Company
laptop computer, Mestril told them that the laptop was ai his apartment, and that he would

return it if ACS would come to hig apartment. When ACS personnel walked with Mestril to

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his apartment, Mestril professed surprise that the laptop was not on the chair where he
claimed he had left it, and he claimed he did not know where his Japtop was located.

34. When the ACS exccutives tned to meet with Hamlet to terminate his
employment, they discovered that Hamlet had left the building. Hamlet was seen leaving the
building with Williams. On March 8, 2006, ACS sent a Ictter to Hamlet by Federal Express
Carricr, notifying him of his termination, and demanding return of all Company materials,
including the Company laptop computer (Exhibit P}. On March 10, 2006, Hamlet sent an c-
mail to Jean Invin, ACS Human Resources Manager, stating that he had left sick on March 8,
2006, and that he could not access his c-mail at ACS. Irwin re-sent the notification letter.
(Exhibit Q) In a return c-mail, Hamlet made reference to “harassment” and racial
discrimination issues. (Exhibit R). Mestril and Hamlet have never rcturned their Company-
issued laptops or any other Company materials in their possession. On information and
belief, all Defendants possess additional ACS property and proprietary information.

35, In its investigation of Williams, Hamlet and Mestril, ACS uncevercd a
conspiracy among Williams, Hamlet and Mestril to appropriate potential candidates from
ACS and to present them as HCI candidates to The Kaiser Project and other sites. ACS also
discovered that Williams, Hamlet and Mesiril planned to leave ACS, to compete directly with
ACS, and to take with them several ACS employees from the Kaiser Project.

36. As former employces in competition with ACS, Williams, Hamlet and Mestril,
working in concert with HCI, will necessarily be called upon to use the trade secrets and
confidential information that ACS entrusted to them. Such use and disclosure is mevitable.

37. Williams, Hamlet and Mestn] had a fiduciary relationship, and assumed a

relationship of trust and confidence, with ACS. This relationship was one of principal (ACS)

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and agents (Williams, Hamlct and Mestril}, as well as employer and employees, m which
Williams, Hamlet and Mestril were obligated to act only in the interesi of ACS.

38. Since Williams, Hamlet and Mestrl worked in a management capacity, ACS
equipped and entrusted them with the resources necessary to perform their integral functions,
including financial, administrative, operational support, and client delivery, particularly in
recruiting and staffing, access to and use of ACS’ most valuable and proprietary information
and trade secrets, and dircct contact with important ACS customers.

39. ACS took reasonable sccurity measures to protect its proprietary and
confidential information. The company specifically required its employees to sign a
confidentiality agreement as part of their Agreements. Employees’ access lo ACS sensitive
and proprietary information is password protected. Certain information is distribuled on a
“need to know” basis only. The physical premises of ACS are secured with physical access

further restricted as well.

40. Following established protocol to protect proprietary and confidential
information, on March 10, 2006, ACS sent a letter to Williams (Exhibit 5), and to Mestnl
(Exhibit T) with a “formal directive” that cach “return all materials acquired or compiled
during the term of your cmployment with [the Company] . . . to include without limitation,
computers, computer disks, office equipment, telephone equipment, work papers, notes,
articles, phone lists, employee and prospective employee and recruit candidate lists and files,
correspondence, proposals, addresses, reports, manuals, handbooks, phone cards, office keys
and any and all matcrial related to employment with [the Company].” The letter to Willams
also demanded the return of his Blackberry. In addition, the letter to each notificd each that

“any attempts to delete material “wipe clean” or otherwise damage the hard drive is

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destruction of company property.” (Exhibits 8 and T). The March 8, 2006 letter to Hamlet

contained the same language. (Exhibit Q)

41. Willams, Hamlet and Mestril expressly agreed that “all company resources of
any kind and nature including but not limited to personnel; cquipment and telephones;
software; written materials, methods and procedures; client and prospect names, files and
documentation are the sole property of the Company and shall not be used for personal or any

other non-company reasons.” (Exhibits E, F and H, ¥ 7)

42, Williams, Hamlet and Mestril expressly agreed that they were “prohibited from
performing services similar to those offercd by [the Company] on behalf of any other

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company, organization, individual or other legal entity.” They also agreed that they were
“prohibited from soliciting or negotiating to perform services similar to those offered by [the
Company] on behalf of any other company, organization, individual or legal entity” and must

“seek writlen approval of the Company prior to engaging in any employment of any nature,

similar to the Company’s services or otherwise.” (Exhibits E, F and H, { 8)

43. Wilhams, Hamlet and Mestril expressly agreed that they were “prohibited,
during employment and for a period of two (2) years following termination from employment
for any rcason, from recruiting, on behalf of him or herself, or on behalf of any third party,
any Employees of the Company either directly or indirectly, specifically including, without
limitation, identification to a third party (including, without limitation, recruiting agencies,
employers and prospective employers) employees of the Company or any of its subsidiaries or

affiliates.” (Exhibits E, F and H, 4] 9(a))

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44, Williams, Hamlet and Mestril expressly agreed that they were “prohibited ,
during employment and for a period of six (6) months following termination of employment
for any reason, from (1) soliciting business and/or performing services via direct employment
or through a party other than the Company, its subsidiaries or affiliates, for chents of the
Company or prospective clients of the Company for whom the employee, during the twelve
(12) month period immediately preceding termination of employment, was directly involved
in the delivery of products or performance of services, or was personally involved in a
relationship management role or in sales or marketing efforts; (2) soliciting, individually or on
behalf of any person or entity, to perform, or performing services for, or referring to or
advising any person or entity about, an opportunity to perform services for any client or
prospective client of [the Company] where employee leamed of the opportunity for that work
while employee was employed by [the Company].” (Exhibits E, F and H, { 9(b))

45. Williams and Mestril further agreed that they were “prohibited, during
employment and for a period of six (6) months following termination of employment from
engaging in healthcare information systems consulting, management of consulting or other
businesses competitive with the Company.” (Exhibits E, F and H, ¥ 9(b){c))

46, | Williams, Hamlet and Mestril have breached their Agreements with ACS by
virtue of the violations set forth in this Verified Complaint.

47. Based upon their conduct to date, it is clear that Williams, Hamlet and Mestril
will continue to violate the confidentiality, non-competition, other gainful employment, and
other provisions of the Agreements.

48. ACS has been and will continue to be severely damaged by the actions of
Williams, Hamlet and Mestril in violation of their contractual and other obligations as set

forth in this Verified Complaint.

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49. ACS has no adequate remedy at law for Defendants’ actions because the
damages ACS has suffered, and will continue to suffer, in connection with the misuse and
wrongful disclosure of confidential infonnation and trade sccrets, compelitive edge, as well as
the loss of its employees and prospective cmployees, its customer goodwill, and fair
competition are incapable of exact proof. Among other things, these damagcs and losses have
caused and will continue to cause ACS irreparable harm.

50, Williams, Hamlct and Mestril will, unless restrained preliminarily and
permanently, continue to violate ACS’ rights, and will continue to ignore their contractual and
other duties to ACS by continuing their work, with a competing entity, namely, HCI, and
continuing to attempt to misappropriate and wrongfully use ACS’ confidential and propnetary
information and trade secrets.

51. Accordingly, a preliminary and permanent injunction restraining and enjoining
Williams, Hamlet and Mesitril from continuing these actions is the only remedy that will
afford ACS meaningful relict.

52. Due to the violations by Williams, Hamlet and Mestril of the six-month non-
competition, non-solicitation and non-disclosure restrictions m the Agreements, the
permanent injunction must be cxtended for a period of time cqualing the period of non-
compliance of Williams, Hamlet and Mestril.

53. On information and belief, Hamlet currently is working for Sutter Health.

54. Due to the misuse and wrongful disclosure of confidential and proprietary
information and trade secrets, as well as loss of its competitive edge, customer goodwill, and
fair competition, ACS has been injured in an amount that exceeds $75,000.00, exclusive of

interest, costs, and attorneys’ fees.

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COUNT I
BREACH OF CONTRACT-NON-COMPETITION

NO COMPETITIVE BUSINESS INVOLVEMENT PROVISION
DEFENDANTS WILLIAMS AND MESTRIL

55. ACS realleges each and cvery allegation contamed in paragraphs 1 through 54,
inclusive, of this Complaint as though completely set forth hercin.

56. As Executive Director and Engagement Manager of the Kaiser Project,
Williams freely entered into the enforceable Williams EA with ACS, in exchange for which
he received a lucrative compensation package and access to ACS’ most valuable information
and customers.

57, As Manager and Recruiting Manager of the Kaiser Project, Mestnl freely
entered into the enforceable Mesinl EA with ACS, in exchange for which he received a
lucrative compensation package and access to ACS’ most valuable information and
customers.

58. The Agreements provide that “the cmployee is prohibited, during employment
and for a period of six (6) months following termination of employment from engaging in
healthcare information systems consulting, management of consulting or other businesses
competitive with the Company.” (Exhibits E and H, 4] 9(c)).

59. On information and belief, during the period they were employed with ACS
from December 2005 through the date of their terminations, Willams and Mcstril conspired
with Hamlet HCI to siphon recruiting information and potential candidates from ACS by
soliciting and accepting resumes from First ACS Employee and from Second ACS Employee,
disclosing the resumes to HCI, evaluating the resumes and representing the candidates to ACS
at the Kaiser Project or to Sutter Health on behalf of HCL On behalf of HCI, Williams,

Hamlet and Mestril communicated with recruiting candidates for placement at the Kaiser

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Project, to Sutter Health, or to others so that HCT would receive the recruiting and placement
fee. This cost ACS money and deprived ACS employees, such as First ACS Employee and
Second ACS Employee, of the opportunity to earn referral bonuscs.

60. As a proximate result of the violation by Williams and Mestril of their
contractual obligations, ACS has been and will continue to be irreparably damaged and
injured,

61. ACS has no adequate remedy at law for the actions of Williams, Hamlet and
Mestnl because the damages ACS has suffered and will continue to suffer in connection with
the misuse and wrongfu) disclosure of confidential information and trade secrets, as well as
loss of its competitive edge, the loss of its employees and prospective cmployees, customer
goodwill, and fair competition are severe and are incapable of cxact proof.

62. Williams and Mestril will, unless restrained preliminarily and permanently,
continue to violate ACS’ nghts and to ignore their contractual dutics.

63. Accordingly, a preliminary and permanent injunction restraming and enjoining
Williams, Hamlet and Mestril from continuing their unlawful actions is ihe only remedy that
will afford ACS meaningful relief.

64. Due to the misuse and wrongful disclosure of confidential information and
trade sccrets, as well as loss of its competitive edge, customer goodwill, and fair competition,
ACS has been injured in an amount that exceeds $75,000.00, cxclusive of interest, costs and

attorneys’ fees.

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COUNT IT

BREACH OF CONTRACT - CONFIDENTIALITY
PROVISION - DEFENDANTS WILLIAMS, HAMLET AND MESTRIL

65. ACS realleges each and every allegation contained in Paragraphs 1 through 64,
inclusive, of this Complaint as though completely sct forth herein.

66, Because Williams, Hamlet and Mestril entcred into their respective
Agreements, they agreed that “in the course of performance of work for the Company [they]
will obtain access to materials and information of the company, its subsidiaries and affiliates
that constitute trade secrets and proprictary information of ACS, its subsidiaries and
affiliates.” (Exhibits E, F and H, 4 11)

67. The Agreement specifically defines trade secrets and proprietary information
to include, “without limitation, descriptions of the company’s, its subsidiaries’ and affiliates’
products and services, planned products and services, business and marketing/sales plans,
mergers and acquisition targets, employee compensation plans, employee medical
information, the identities of suppliers, customers and prospective customers, identities of
employees and prospective employees, prices and pricing policies in whatever form received
by employee, including without limitation, written, voice, electronic of magnetic media or
graphic display.” (Exhibits E, F and H, 4] 11)

68, Because Williams, Hamlet and Mestril entered into their respective
Agrcements with ACS, they were contractually obligated not to utihze and/or disclose any

trade secrets and/or proprietary information of ACS. (Exhibits E, F and H, { 11)

69, In unlawfully competing with ACS, Willams, Hamlet and Mestnl have
breached, and will inevitably continue to breach their respective Agreements with ACS by

utilizing and/or disclosing ACS’ trade secrets and/or proprictary information.

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70. ACS has been and, unless Williams, Hamlet and Mestril are enjoined, will
continue to be irreparably damaged by the usc and disclosure, and/or inevitable use and
disclosure, by Williams, Hamlet and Mestril, of ACS’ confidential information and trade
secrets.

71. ACS has no adequate remedy at law for the actions of Williams, Hamlet and
Mestril because the damages ACS has suffered and will continue to suffer in connection with
the misuse and wrongful disclosure of confidential information and trade secrets, the loss of
its employees and prospective employees, as well as its loss of competitive cdge, are severe
and incapable of exact proof.

72, Due to the misuse and wrongful disclosure of confidential information and
trade secrets, as well as loss of its competitive edge, customer goodwill, and unfair
competition, ACS has been injured in an amount that exceeds $75,000.00, exclusive of

interest, costs, and attorneys’ fees.

COUNT Ul

BREACH OF CONTRACT — OTHER GAINFUL EMPLOYMENT
PROVISION -DEFENDANTS WILLIAMS, HAMLET AND MESTRIL

73. ACS realleges each and every allegation contained in Paragraphs 1 through 72,
inclusive, of this Complaint as though completely set forth hercin.

74. = Williams, Hamict and Mestri] were required to “devote full employment
energics, abilities and time to the performance of services hereunder.” Williams, Hamlet and
Mestril were prohibited from “performing services similar to those offered by ACS on behalf
of any other company, organization, individual or other legal entity” and from “soliciting or

negotiating to perform services similar to those offered by [the Company] on behalf of any

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other company, organization, individual or legal entity” without “written approval of the
Company.” (Exhibits E, F and H, 4 8)

75. Through their unlawful conduct, as set forth in this Verificd Complaint,
Williams, Hamlet and Mestn] have breached the Other Gainful Employment provision of
their respective Agreements. Specifically, Williamsand Mestril, working on behalf of HCI,
accessed the proprietary information and trade secrets of ACS and misappropriated recnuting
candidates from ACS, presented those candidates to Williams for placement al the Kaiser
Project with the intent of obtaining fecs from ACS for HCI as an outside recruiting agency.
On information and belief, HCI, with the assistance of Williams, Hamlet and Mestril, also
presented misappropriated ACS candidates to Sutter Health. Williams, Hamlet and Mestril,
on information and belicf, presented themselves to Sutter Health as available HCI consultants
with the ability to oversee an EPIC or other software implementation at Sutter Health and
staff such a project.

76. ACS has been and, unless Williams, Hamlct and Mestril are enjoined, will
continue to be imeparably damaged by the use and disclosure, and/or inevitable use and
disclosure, by Williams, Hamlet and Mestrl, of ACS’ confidential information and trade
secrets.

77. ACS has no adequate remedy at law for the actions of Williams, Hamlet and
Mestril because the damages ACS has suffered and will continue to suffer in connection with
the misuse and wrongful disclosure of confidential information and trade secrets, the loss of
its employees and prospective employees, as well as its loss of competitive edge, are severe
and incapable of exact proof.

78. Due to the misuse and wrongful disclosure of confidential information and

trade secrets, as well as loss of its competitive cdgc, customer goodwill, and unfair

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competition, ACS has becn injured in an amount that exceeds $75,000.00, exclusive of
interest, costs, and attorneys’ Jees.
COUNT IV
BREACH OF CONTRACT — NON-COMPETITION - NO RECRUITMENT

OF COMPANY PERSONNEL PROVISION — DEFENDANTS
WILLIAMS , HAMLET AND MESTRIL

79. ACS realleges each and every allegation contained in Paragraphs 1 through 78,
inclusive, of this Complaint as though completely set forth herein.

80. Williams, Hamlet and Mestril, by signing their respective Agreements, agreed
that they were “prohibited, during employment, and for a period of two (2) years following
termination of employment for any rcason, from recruiting, on behalf of [themselves], or on
behalf of any third party, any Employees of the Company either directly or indirectly,
specifically including, without limitation, identification to a third party Gncluding without
limitation, recruiting agencics, employers and prospective employers) employces of the

Company or any of its subsidiaries or alfihates.” (Exhibits E, F and H, J 9(a))

81. Through thcir unlawful conduct, as set forth in this Verified Complaint,
Williams, Hamlet and Mestn] have breached the No Recruitment of Company Personnel
provision of their respective Agreements. Specifically, Hamlet, in December 2003,
approached First ACS Employee and asked First ACS Employee to help recruit two to three
EPIC experienced ACS employees for a new opportunity at Sutter Health to implement EPIC
software. Hamlct also told First ACS Employee the EPIC experienced people he was looking
for to place at Sutter Health were to be placed there through “the Agency,” not as ACS
employces. Hamlet told First ACS Employee that Williams was on the board of “the

Agency” and that First ACS Employee would receive a payment (as would Williams and
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Hamlet) from the hourly wages of each person First ACS Employee recommended to “the
Agency.” Hamlet told First ACS Employee that they “all would make money” but First ACS
Employee would have to contribute $10,000.00 of First ACS Employee’s own money as a
start. Williams approached Third ACS Employee on March 6, 2005, and told Third ACS
Employee that hc would be leaving ACS soon and was looking to “take seven to ten top
people with him” to an account “up north that is really big.” Williams said that he wanted
Third ACS Employee on his team and wanted to meet with Third ACS Employee the next day
to talk more about the account “up north.” Third ACS Employee was able to confirm through
a subcontractor for ACS working at the Kaiser Project that “up north” meant Sutter Health
and that Williams, Hamlet and Mestril werc all going there.

82, Williams, Hamlet and Mestnl have attempted and on information and belief
continue in their attempts to raid the Kaiser Project of the highly talented ACS employecs
with EPIC capabilities in order to take thosc cmployecs with them and directly compete with
ACS. Unless Williams, Hamlet and Mestril are enjomed, ACS has been and will continue to
be ieparably damaged by the use and disclosure, and/or incvitable use and disclosure, by
Williams, Hamlet and Mesiril of ACS’ confidential formation and trade secrets to purloin
ACS employees from the Kaiser Project for their and HCI’s gain.

83. ACS has no adequate remedy at law for the actions of Williams, Hamlet and
Mestril because the damages ACS has suffered and will continue to suffer in connection with
the misuse and wrongful disclosure of confidential information and trade secrets, the loss of
its employees and prospective employees, as well as its loss of competitive edge, are severe
and incapable of exact proof.

84. Due to the misuse and wrongful disclosure of confidential imformation and

trade secrets, as well as loss of its competitive edge, customer poodwill, and unfair

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competition, ACS has been injured in an amount that exceeds $75,000.00, exclusive of
interest, costs, and attorneys’ fees.
COUNT V

BREACH OF FIDUCIARY DUTY
DEFENDANTS WILLIAMS, HAMLET AND MESTRIL

 

85. ACS realleges cach and every allcgation contained in paragraphs | through 84,
inclusive, of this Complaint as though completely sct forth hercin.

86. Williams, Hamlet and Mestril have fiduciary duties to ACS.

87. In their management capacities at ACS, Williams, Hamlet and Mestril assumed
a position of trust and confidence.

88. Williams, Hamlet and Mestril specifically agreed with ACS to “devote full
employment energies, abilitics, and timc to the performance of services” under their
respective Agreements. (Exhibits E, F and H, ¥ 8.)

89, In their management capacitics at ACS, Williams, Hamlct and Mestril were
placed in positions of trust and confidence with regard to ACS property in their possession
and have a fiduciary obligation not to use or disclose this property during their employment or
upon termination of their employment.

90). As agents of ACS, Williams, Hamlet and Mestril have duties to ACS not to use
or to disclosc to third persons, on their own account or on account of others, trade secrets, or
other similar confidential matters given to them only for ACS’ use.

91, At all the times, the property held by Williams, Hamlct and Mestril rightfully
belonged to ACS.

92. Williams, Hamlet and Mestril have breached their duties not to disclose or use

the confidential information and trade secrets of ACS in competition with ACS.

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93. Williams, Hamlet and Mestnl, working m concert with HCI, have becn
competing and continue to compete directly with ACS.

94. Williams, Hamlet and Mestril, therefore, are in a position where they must
inevitably breach their obligation of confidentiality and non-disclosure.

95, Williams, Hamlet and Mestril will, unless restrained, continuc to violate ACS’
rights and continuc to ignore their duties not to disclose or use proprietary information and
trade secrets of ACS. Such use and disclosure are inevitable, as evidenced by their unlawful
conduct.

96. Williams, Hamlet and Mestri) breached all of the aforementioned obligations.
ACS has been severely damaged by the breach of their fiduciary duties, trust, and confidence
obligations.

97, ACS’ damages have been proximately caused by the breach of the fiduciary
duties of Williams, Hamlet and Mestril fiduciary duties to ACS.

98. As a proximate resull of the violation of the fiduciary duties of Williams,
Hamlet and Mestril, ACS has been and will continue to be irreparably damaged and injured.

99. ACS has no adequate remedy at law for the actions of Williams, Hamlet and
Mesiril because the damages ACS has suffered and will continue to suffer in connection with
the violations by Wilhams, Hamlct and Mestril of their fiduciary duties, specifically the
misuse and wroneful disclosure of confidential information and trade secrets, as well as loss
of ACS’ competitive edge, customer goodwill, and fair competition, are scvcre and are
incapable of cxact proof,

100. Williams, Hamlet, and Mestril will, unless restrained preliminarily and
permanently, continue to violate ACS’ nights and to ignore thcir fiduciary duties to ACS by

continuing to compete with ACS, to solicit its customers, to provide consulting services

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similar to thosc of ACS using the talents of employees raided from ACS, and to misuse ACS”
confidential information.

101. Accordingly, a preliminary and permanent injunction restraining and enjoming
Williams, Hamlet and Mestril from continuing these unlawful actions is the only remedy that
will afford ACS meaningful rehef,

102. Due to the misuse and wrongful disclosure of ACS’ confidential and
proprietary mformation and trade secrets, as well as loss of iis competitive edge, customer
goodwill, and fair competition, ACS has been injured in an amount that exceeds $75,000.00,
exclusive of interest, costs and attorneys’ fees.

COUNT VI

INTERFERENCE WITH CONTRACT-DEFENDANT HCI

103. ACS realleges cach and every allegation contained in paragraphs | through

102, inclusive, of this Complaint as though completely set forth herein.

104. Defendant HCI is knowingly interfering with ACS’ Agreements with
Williams, Hamlet and Mestril by committing the intentional doing of a per sc wrongful act or
the domg of a lawful act with malice and unjustified m law for ihe purpose of invading the
contractual rights or business relationship of another, here ACS.

105. Specifically, HCI is knowingly involving Williams, Hamlet and Mestril in the
recruiting and healthcare information systems management consulting business, which is
expressly prohibited by the respective Aprcements of Williams, Hamlet and Mestril with
ACS.

106. HCT's acts are intentional.

107, HCIl’s actions have invaded and arc invading the contractual rights of ACS.

108. H€I's actions are taken with malice and are unjustified in law.

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109. As a proximate result of HCI’s interference with ACS’ contractual relations,
ACS has been and will continue to be irreparably injured.

110. ACS has no adcquate remedy at Jaw for HCI’s actions because the damages
ACS has suffered and will continuc to suffer in connection with the divulgence of confidential
information and trade sccrets, as well as ils loss of competitive edge, are severe and are
incapable of exact proof.

111. HCI, unless restrained preliminarily and permanently, will continue to violate
ACS’ nghts by continuing to work with Williams, Hamlet and Mesiril for the purpose and
with the result of misuse and wrongful disclosure of confidential information and trade
secrets, solicitation of ACS employees, prospective employces, clicnts and prospects, and
performing prohibited consulting serviccs in violauon of the respective Agreements of
Williams, Hamlet and Mestril. Williams, Hamlet and Mesiril remain in possession of a
wealth of ACS’ confidential and proprietary information Their laptops contain all of the
Kaiser Project information, staffing needs, stalling structure, skill sets, recruiting queue, and
resumes, among other imporiant ACS proprietary information and trade secrets. Both Hamlet
and Mestril have wrongfully retained their Company laptop computers. Williams has
wrongfully retaincd his Company Blackberry, even in the face of ACS’ demand that they
return the laptops and Blackberry. Accordingly, a preliminary and permanent injunction
restraiming and enjoinmg each Defendant from continuing their actions is the only remedy that
will afford ACS meaningful relief.

112. Due to the misuse and wrongful disclosure of its confidential information and
trade secrets, the tortious interference with ACS’ contracts and relationships, and its loss of
competitive edge, customer goodwill, and employees, ACS has been injured in an amount that

excceds $75,000.00, exclusive of interest, costs, and attorneys’ fees.

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COUNT VU
TORTIOUS INTERFERENCE WITH BUSINESS

RELATIONSHIPS AND EXPECTANCIES
DEFENDANTS WILLIAMS, HAMLET, MESTRIL AND HCI

113. ACS realleges cach and every allegation contained in paragraphs 1 through
112 as though completely set forth hercin.

114, ACS possesses, or possessed, a valid contractual relationship and/or business
expectancy with Sutter Health and any other ACS client Williams, Hamlet, Mestril and HCI

are soliciting for the provision of healthcare consulting services and staffing serviccs.

115. Williams, Hamlet, Mestril and HCT knew of ACS’ business relationship and
expectancy with Sutter Health, an important ACS client. Wilhams, Hamlet and Mestril,
through their employment with ACS and their access to the proprictary information and trade
secrets of ACS, learned of the request for information (“RFI”) from Sutter Health for
consullunts experienced in EPIC sofiware. Hamlet had worked for Sutter Health. (Exhibit QO)
On information and belief, Williams and Hamlet, through HCI, introduced to Sutter
candidates they had purloined from ACS.

116. The actions of Williams, Hamlet, Mestril and HCI are improper and unjustified
in law because, inter alia, they arc continuing a course of conduct they began while Williams,
Hamlet and Mestril are still bound by the non-competition, non-solicitation, and
confidentiality provisions of their respective Agreements with ACS; and Williams, Hamlet,
Mestril and HCT are using confidential information, trade secrets, and proprietary information
of ACS, which they wrongfully misappropriated to further their tortious conduct. The

respective Agreements of Williams, Hamlet and Mestril prohibit each of these Defendants

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from pursuing, during employment and for six (6) months thereafter, competitive
opportunities they learned of in the course of their employment with ACS.

117. The improper and unjustified interference of Williams, Hamlet, Mestril and
HCT in the contractual relationships and expectancies with Sutter Health, if unrestrained, will
result in injury to ACS.

118. ACS has no adequate remedy at law for the actions of Williams, Hamlet,
Mestril and HCI1 since ihe damages ACS has suffered and will continue to suffer in
connection with the use of its property and conversion of its client relationships and carefully
developed pre-qualificd prospects, as well as the loss of its employees and prospective
employees, and its customer goodwill, are incapable of exact proof.

119, Accordingly, a permanent injunction restraiming and enjoining Williams,
Hamlet, Mestril and HCI from interfering in any way, with any current contract, customer
telationship or pre-qualified prospective clicnt relationship or expectancics of ACS, including
but not limited to Sutter Health, in addition to damages in excess of $75,000.00, will afford
ACS meaningful rclief.

COUNT VIII

VIOLATION OF MICHIGAN UNIFORM TRADE SECRETS ACT
(“MUTSA”) MCL § 445.1901 ef seq.
DEFENDANTS WILLIAMS, HAMLET, MESTRIL AND HCI

120. ACS realleges cach and every allegation contained in Paragraphs 1 through
119, inclusive, of this Complaint as though compictcly set forth herein.

121. Williams, Hamlet and Mesiri] were placed in positions of trust and confidence
with regard to ACS’ confidential business information and properties in their possession, and
were placed in control of kcy relationships that ACS had with its clients. Williams, Hamlet

and Mcstril were specifically experienced in ACS’ EPIC implementation and staffing metrics

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and will inevitably misuse ACS’ confidential and propnetary mformation, Williams, Hamlet
and Mestnl have fiduciary obligations not to disclose this information and not to wrongfully
usc this information for their own competitive advantage and that of HCT.

122. ACS took reasonable security measures to protect its proprietary and
confidential information, The company specifically required its employees to sign a
confidentiality agreement as part of their employment agreements. Employees’ access to
ACS sensitive and proprietary mformation is password protected. Certain information is
distributed on a “need to know” basis only. ‘The physical premises of ACS are secured with
physical access further restricted as well.

123. Williams, Hamlet, Mestril and HCI have in their possession proprictary
information, trade seercts, and other valuable property of ACS. ACS* confidential and
propnetary information and documents have been cstablished at considerable time and
expense to ACS and are not generally known.

124. ACS’ proprietary and confidential information and trade secrets are of
immense value to anyone operating in a similar business as ACS.

125. Over many years at a great cost, ACS created the confidential information and
property that Williams, Hamlei, Mesinl and HCI have in their possession.

126. Williams, Hamlct, and Mestril expressly admitted and agreed that the
information is secret and valuable to ACS. (Exhibits E, F and H, 9 11)

127. ACS has requested the retum of all of its information and/or property.

128. The use and disclosure by Williams, Hamlet, and Mestril of ACS’ propnetary
and confidential information are inevitable.

129, The continued possession and misuse of ACS’ information and/or property by

Williams, Hamlet, Mestril and HCT are unauthonzed and unlawful.

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130. The possession and misuse of ACS’ information and property have unfairly
provided Williams, Hamict, Mestril and HCI with immeasurably valuable materials.

131. The possession and misuse of ACS’ information and property by Williams,
Hamlet, Mestril and HCT have resulted in an inequity. Williams, Hamlet, Mestril and HCI are
benefiting unjustly from the time, money, and effort spent by ACS over a number of years.
The possession and use by Williams, Hamlet, Mestril and HCI have allowed them to step into
the shoes of ACS without having to spend the time and money to build the relationship and do
the work performed by ACS in order to develop ACS’ proprietary information and property.

132. ACS has no adequate remedy al law for the actions of Williams, Hamlet,
Mestril and HCI because the damages ACS has suffered and will continue to suffer in
connection with the misuse and wrongful disclosure of confidential information and trade
secrets, as well as loss of its competitive cdge, the loss of its employees and prospective
cmployees, customer goodwill, and fair competition, are scverc and are incapable of exact
proof,

133. Williams, Hamlet, Mestril and HCI will, unless restrained preliminarily and
permanently, continue io use and disclose ACS’ propnetary and confidential information.

134. Accordingly, a preliminary and permanent injunction, restraining and
enjoining Williams, Hamlet, Mestril and HCI from continuing this unlawful action is the only
remedy that will afford ACS meaningful relief.

135, Due to the misuse and wrongful disclosure of confidential information and
irade secrets, as well as loss of its competitive cdge, customer goodwill, and fair competition,
ACS has been injured in an amount that exceeds $75,000.00, exclusive of interest, costs, and

attorncy’s fees,

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COUNT IX

CIVIL CONSPIRACY
DEFENDANTS WILLIAMS, HAMLET, MESTRIL AND HCI

136. ACS rcalleges each and every allegation contained in Paragraphs 1 through
135, inclusive, of this Complaint, as though completely set forth herein.

137. Williams, Hamlet, Mestril and HCI have been, and are, engaged in a concerted
action to solicit, receive and use ACS’ trade scerets, confidential and proprietary information.

138. This concerted action is done to accomplish the unlawful purpose of
Misappropriating trade secrets and confidential and proprietary information, interfering with
ACS’ contractual and business relations, engaging in unfair competition with ACS, and
breaching the fiduciary duties owed to ACS, as set forth above.

139, ACS has no adequate remedy at law for the conspiracy of Williams, Hamlet,
Mestril and HCT because the damages ACS has suffered and will continue to suffer in
connection with the misuse and wrongful disclosure of confidential information and trade
secrets, as well as loss of its competitive cdge, the loss of its employees and prospective
employees, customer goodwill, and fair competition, arc incapable of exact proof.

140. Williams, Hamlet, Mestril and HCI will, unless restrained preliminarily and
permanently, continue to conspire to use and disclose ACS’ proprictary and confidential
information.

141. Accordingly, a permanent injunction, restraining and enjoining Williams,
Hamlet, Mestril and HCI from continuing to conspire is the only remedy that will afford ACS
meaningful relief.

142. Due to the misuse and wrongful disclosure of confidential information and

trade secrcts, as well as loss of its compctitive edge, customer goodwill, and fair competition,

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ACS has been injured in an amount that exceeds $75,000.00, exclusive of interest, costs, and
attorney's fees.
COUNT X
CONVERSION

143. ACS realleges cach and every allegation contained in paragraphs 1 through
142 as though completely set forth herein.

144. In their Agreements, Willams, Hamlet and Mestril recogmzed that “all
company resources of any kind and nature including but not limited to personnel, equipment
and telephones; softwarc; written materials, methods and procedures; client and prospect
names, files and documentation are the sole property of the Company and shall not be used
for personal or any other non-company reasons.” (Exhibits E, F and H)

145. Willams, Hamlet and Mestril further agreed that upon termination, they would
return to ACS any and all materials acquired during the period of their employment.

146. During the course of their employment Williams, Llamlet and Mestril were
furnished with ACS property including but not limited to ACS-issued laptops, Blackberries,
other electronic devices and other tangible ACS property.

147. Without permission from ACS, Williams, Hamlet and Mestril removed this
property from ACS and have used it for their own benefit and for the benefit of HCL.

148. Williams, Hamlet and Mestril have failed and/or refused to retum other ACS
property including but not limited to ACS-issued laptops, Blackberries, other electronic
devices and other tangible ACS property

149. The continued possession of ACS’ property, by Williams, Hamlct and Mestril

and/or HCI is unauthorized, improper and an unlawful use of ACS’ property.

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150. Due to Williams’, Hamlet’s and Mestril’s use of and failure and/or refusal to
retum other ACS property including but not limited to ACS-issued laptops, Blackbernes,
other electronic devices and other tangible ACS property, as well as loss of ACS competitive
edgc, customer goodwill, and fair competition, Plaintiff ACS has been injured in an amount
that exceeds $75,000.00, exclusive of interest, costs and attorneys’ fees.

COUNT Xl

ATTORNEYS FEES AS AUTHORIZED UNDER
THE MICHIGAN UNIFORM TRADE SECRETS ACT

151. ACS realleges each and every allegation contained in paragraphs | through
150 as though completely set forth herein.

152. By becoming involved with Williams, Hamlet, and Mestril, HCI has become
apprised of the business and recruiting contacts with, and therefore directly competitive
relationships with recruiting contacts and customers of ACS established before or during the
time Williams, Hamlet and Mestril were employees of ACS.

153. ACS took reasonable sccurity measures to protect its proprietary and
confidential information. The company specifically required its employees to sign a
confidentialily agreement as part of their cmployment agreements. Employees’ access to
ACS sensitive and proprietary information is password protecied. Ccrtain information is
distributed on a “need to know” basis only. The physical premises of ACS arc secured with
physical access further restricted as well.

154. Williams, Hamlet, and Mestnl mevilably will usc ACS’ proprietary
information and relationships developed with its customers for the benefit of HCL

155. Williams, Hamlet, and Mestn! have, in fact, already uscd ACS’ proprietary

information and competitive business rclationships for the benefit of HCI.

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156. As agents of HCI, Wiliams, Hamlet, and Mestnil continue to willfully and
maliciously misappropriate ACS’ proprictary information and compctitive business
relationships for the bencfit of FICT.

157. By becoming involved with Williams, Hamlet, and Mestril, receiving trade
secret information from them and with the knowledge that ihey will continue to use the
proprietary information of ACS and competitive business relationships for the benefit of HCI,
HCl is willfully and maliciously misappropriating trade secrets and proprietary information
from ACS.

158. ACS has incurred, and will continue to incur attorneys’ fees to enforce its non-
competition, non-solicitation and non-disclosure Agreements with Williams, Hamlet, and
Mestril in order to protect its proprietary information and trade secrets from willful and
malicious misappropriation by Williams, Hamlet, and Mestn] and HCI.

159. Accordingly, ACS must be awarded reasonable statutory attorneys’ fees in

addition to damages in excess of $75,000.00 and a permanent injunction.

RELIEF
ACS does not seek any form of relief that would prevent Williams, Hamlct and
Mestril from being employed. ACS secks only that relief that will enforce its contractual and
other rights, enforce its property nights, and prevent any use of such property, remedy the
damages that ACS has incurred as a result of the unfair and unlawful competition of
Williams, Hamlet, Mestril and HCI and that will prevent ACS from incurnmg any further such

damages.

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WHEREFORE, Plaintiff, ACS respectfully requests:

(a) That this Court issue a Temporary Restraining Order and Preliminary and
Permanent Injunction restraining and enjoining Defendants Williams, Hamlet,
and Mestnl, directly or indirectly:

(i) From engaging in any healthcare information systems
consulting, recruiting or management consulting businesses for
a period of six (6) months from the date of the Court's Order;

(ii) From commencing or continuing invelvement with Defendant
HCL, or with another competing entity, m the ficld of healthcare
information systems consulting, recrmting or management
consulting for a period of six (6) months from the date of the
Court’s Order;

(iii) | From competing in any other way, directly or mdircctly, with
ACS in the ficld of healthcare information systems consulting,
recruiting and management consulting business for a period of
six (6) months from the date of this Court’s Order;

(iv) From using or disclosing at any time in the future ACS’
confidential business mformation, trade secrets, proprietary
information or property;

(v) From deleting or destroying any of ACS’ confidential busincss
information, trade secrets, proprietary information or properly;
from taking any action to delete, destroy, damage or “wipe
clean” any computer hard drive, including without limitation
their ACS-issued laptops and Blackberrys, containing ACS’
confidential information or evidence relevant to this case.

(vi} From interfering, in any way, wilh any current contract or
prospective client relationship of ACS, and

(vii) From breaching any fiduciary obligation to ACS, including but
not limited to, appropriating any business opportunity of ACS,
engaging in deceptive acts or statements with regard to ACS’
abilities, expericnecs, and personnel, and otherwise altempting
to gain unfair advantage in any healthcare information systems
consulting or management consulting business, and disclosing
or using ACS’ confidential or proprietary information.

(b) That this Court issuc a Temporary Restraining Order, Preliminary and
Permanent Injunction restraining and enjoining Defendant HCI,
directly or indirectly:

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Ga} From cmploying or working directly or indirectly with
Williams, Hamlet, and Mestril, in any healthcare information
systems consulting, recruiting or management consulting
businesses for a period of six (6) months from the date of this
Court’s Order;

(ii) From using or disclosing at any time in the future ACS*
confidential business information, trade secrets, proprietary
information or property;

(iii} From deleting or destroying any of ACS’ confidential business
information, trade secrets, proprietary formation or property;
from taking any action to delete, destroy, damage or “wipe
clean” any computer hard drive, including without limitation
their ACS-issued laptops, containing ACS’ confidential
information or evidence relevant to this case.

(iv) From interfering, m any way, with any current customer or
prospective customer relationship of ACS; and

(v) | From engaging in deceptive acts with regard to ACS” abilities,
experiences, and persormel to gain an unfair advantage in the
healthcare information systems consulting or management
consulting business.

(c) That Defendants Williams, Hamlet, Mest] and HCI be ordered in the
form of a mandatory preliminary injunction to, within seven (7) days of
ihe date of this order, return all ACS property to ACS, including all
laptops and Blackberrics, all originals and copies of tangible property,
proprietary documents, trade sccrcts, confidential mformation, disks,
notes, clicnt files, client information, employment information,
rectuiting information, ACS employee skills information, business
development information, request for proposal, request for bid, client
correspondence, meeting minutes, notes of site visits, marketing data,
prospect dala, nelwork diagrams, proposals, faxes, pricing, contracts
awarded, technical specifications and related documents, marketing
brochure, data network specifications, recommendations including but
not limited to vendor recommendations, marketing database, costs,
customer Jisis, customcr information, strengihs and weaknesses,
prospect and chent data, marketing plans, cmployee and prospective
employee data, utilization, and bench information, employee profiles
and skills data, alliance relationships, compctitive bid information,
chent contact lists, sales leads, business plans, profit, margin, and
forecasting information, strategic planning, project costs, and other data
kept in any form or media whatsoever;

(d) That after trial in this action, a permanent injunction be issued to the
same effect as the prcliminary injunction requested above; and

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(e) That ACS be granted as relief money damages, including exemplary
damages, lost profits, all other appropriate damages, as well as all
interest, costs, and disbursernents of this action, including reasonable
attorneys’ fees and such other relief as this Court may decm just and
proper.

Respectfully submitted,

BUTZEL LONG

 Lyebedl] Up cetets

Carey. A. DeWitt (P36718)
Elizabeth A. DuMouchelle (P45462)
Gregory N. Blase (P66079)

Suite 100, 150 West Jefferson

Detroit, Michigan 48226

(313) 225-7000

Attorneys for Plaintiff

Dated: March 29, 2006

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VERIFICATION

The undersigned, being first duly swom, deposcs and says that she has read the
foregoing Complaint and that the statements of fact contamed therein are truc based upon her

knowledge and information.

ACS CONSULTANT COMPANY, INC. f/k/a
SUPERIOR CONSULTANT COMPANY, INC,

 

vo Sugan M. Synor , i

Its: Senior Vice President
ACS Healtheare Solutions

 

Subscribed and sworn to before me
this 244 day of March, 2006

Notary Public

 

MARY KATHLEEN ELLISON
NOTARY PUBLIC-STATE OF MICHIGAN
COUNTY OF OAKLAND
idy Commission Expliras February 17, 2011

Acting In the County of: aga

 

 

 

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International Sites... i

| Business Process
Outsourcing

| Information Technology

Home | Service Offerings

] Systems & Integration Service Offerings

| e-Solutions
At ACS, we provide a full range of outsourcing services and solutions to businesses,

government, and industry leaders, bath large and small. When our clients choose ACS,
they feel confident and secure that they'll receive the best people, the best tools, and
the assurance that thelr ACS team will be there every step of the way ... until success is
achieved.

ACS’ capabilities and expertise span the areas of:

® Business Process Qutsourcing (BPO)

® Information Technology Gutseurelng (IT}
« Systems & Integration

® 2-Solutions

We didn't invent technology. We just created a better
way ta make It work for our clients,

 

 

 

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| Applications Solutions

| Data Canter
Management

| Disaster Recovery

| End-User Computing

| Network Management
| Security Services

| Storage Solutions

| Technalogy Review,
Assessmant,
and Ptanning

| Transition Sarvices -
Human Resources

| Contact Us

 

 

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Transition Services - Human Resources

Making the decision to outsource IT often can be casy from a financial perspective, but what abo.
and operational impact of this change?

Celiverables from IT depend on both facilities and the people who design, assemble, operate, anc
Simply shipping data tapes to an outside vendor dramatically devalues human capital and equity-
involving significant corporate investment. Such an approach also is generally inconsistent with m
organizations’ goals for human resources.

We provide the best economic and human resources aspects of IT by transitioning your employee
professional home at ACS, with a more specifically defined career path. Those who possess spect:
knowledge of client IT operations continue to support those programs, while cross-training other
on their unique skills to provide greater depth of support. Employees with more generalized sklll+
continue to support their former employer, deliver services to other ACS clients, or a combinatiar
many cases, employees move from being part of a technology cost center to being a revenue pro
cornpany.

ACS' approach to transitioning employees begins during the
important due diligence period, when we identify all employees
who work within the scope of the proposed outsourcing
engagement. When the timing is appropriate, we conduct
individual, small group, and large-scale meetings to present
ACS and the range of professional opportunities available to
transitioning employees. These settings also provide
opportunities for ACS personnel—many of whom have,
themselves, been transitionedto answer questions about our
company and the transition process,

The best measure of success in our transition methodolagy is
the number of employees who transition to and stay with ACS.
Our retention rate for transitioned employees after ane year of
employment at ACS exceeds 90 percent.

 

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| Business Pracess
Outsourcing

Hame | Service Offerings | Systems & integration

{| Information Technology
| Systems & Integration Systems & Integration Services

| e-Salutions :
Experienced people. Proper tools. Innovative solutions. These are the dackbane of ACS"

systems and integration services.

This expanding service line supports a growing number of cllents with a full range of
information technology professionals, from programmers to full development teams,
addressing applications and systems design, development, and maintenance support
needs.

Our systems and integration services span the areas of:

# Applications Support

# Consulting

« Systems Design & Development
= Systems Integration

w Tralning

We provide the necessary talent, expertise, and resources to make our clients’
information systems and technology work. We do whatever it takes to help our clients
achieve their goals.

 

Each member of the ACS team possesses the ingenuity, drive, and talent to make a
positive difference to the client’s business. No matter what the need, or how speelfic, we
car Fill it.

 

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http://www.acs-inc.com/si/index.html 3/25/2006

 
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| Applications Solutions

| Data Center
Management

| Disaster Recovery

| End-User Computing

| Network Manzgement
| Security Services

| Storage Salutions

| Technology Review,
Assessment,
and Planning

{ Transition Services -
Human Resources

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Applications Solutions

Data becomes powerful information only when combined with task-specific software tools.

ACS provides application services that match a specific client's business requirements with the mi
software solutions. We identify desired deliverables, review available tools, and determine the me
approach to fulfilling business information needs.

The packages we apply span the full spectrum, from comman off-the-shelf applications to highly :
systems developed specifically for individual clients.

Additionally, ACS has a specialized Application Management Services unit within our larger applic
that provides solutions to clients for whom highly configured applications—such as Oracle, SAP, PF
Edwards, and Lawson enterprise applications, as well as Microsoft Exchange, Sun ONE, Lotus Dor
Message Control messaging solutions—are most appropriate.

After the solution has been identified, ACS implements a
well-defined process ta migrate business activities fram
previous systems or approaches to the new
environment, with an emphasis on business continuity
throughout the conversion,

Once implemented, the ACS tearm works behind the
scenes to ensure that the applications are maintained
and, as appropriate, enhanced and upgraded. Our
expertise in applications development and management
underscores our commitment to operational excellence
for our clients.

 

 

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MICHIGAN DEPARTMENT OF CONSUMER & INDUSTRY SERVICES, BUREAU OF COMME

THIS DATA IS FOR INFORMATIONAL PURPOSES ONLY
CERTIFICATION CAN ONLY BE OBTAINED THROUGH THE ISSUING GOVERNMENT AGENCY

MICHIGAN DEPARTMENT OF CONSUMER & INDUSTRY SERVICES, BUREAU OF COMMERCIAL
SERVICES, CORPORATION DIVISION

Company Name: ACS CONSULTANT COMPANY, INC.

Type: DOMESTIC PROFIT CORPORATION

Status: ACTIVE

Filing Date: 10/1/1984

State ar Country of Incorporation: MICHIGAN

Purpose: ALL PURPOSE CLAUSE

Registered Agent: CSC-LAWYERS INCORPORATING SERVICE (COMPANY) ar eee

Repistered Office: . es retin +
601 ABBOTT RD Aah.
EAST LANSING, MI 48823 my

Other Name Information: sere
SUPERIOR CONSULTANT COMPANY , te
Type: ASSUMED
Creation Date: 2/1 1/2005
Expiration Date: 12/31/2010

ACS HEALTHCARE SOLUTIONS
Type: ASSUMED

Creation Date: 2/11/2005
Expiration Date: 12/31/2010

HIT RESOURCES

Type: ASSUMED

Creation Date: 4/17/2003
Expiration Date: 12/31/2008

Filing Number: 287806
Acts: 284-1972 BUSINESS CORPORATION ACT
Annual Report:

Report Date: 2005

Rall: $927
Frame: 933
 

 

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Page 2
MICHIGAN DEPARTMENT OF CONSUMER & INDUSTRY SERVICES, BUREAU OF COMME

Stock Information:
Shares Issued: 5,000,000
Change in Stock: YES

History:
File Date: 3/7/2005
Comments: PREV RA: THE CORPORATION COMPANY
Transaction: CHANGE OF AGENT AND/OR OFFICE

File Date: 3/7/2005
Comments: PREV RO: 30600 TELEGRAPH RD., STE 32275 BINGHAM FARMS MI 48025
Transaction: CHANGE OF AGENT ANDV/OR OFFICE

File Date: 1/28/2005
Comments: SUPERIOR CONSULTANT COMPANY, INC,
Transaction: NAME CHANGES

File Date: 10/10/1996
Comments; MERGER FILED: SURVIVOR: 287-806
Transaction: MERGERS

File Date: 5/15/1990

Comments: 1990 MAR FILED
Transaction: ANNUAL REPORT FILED
Roll: 3407

Frame: 1736

File Date: 5/15/1989

Comments: 1989 MAR FILED
Transaction: ANNUAL REPORT FILED
Roll: 3278

Frame: 146]

File Date: 3/15/1988

Comments: 1988 MAR FILED
Transaction: ANNUAL. REPORT FILED
Roll: 3131

Frame: 2924

File Date: 6/30/1987

 
 

 

 

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Comments; PREV STK:50,000 COM (1) ART U1 CHGD

Transaction: STOCK HISTORY
Roll: 1918

File Date: 6/30/1987

Comments: SUPERIOR CONSULTANT COMPANY

Transaction: NAME CHANGES
Roll: 1918

File Date: 5/15/1987

Comments: 1987 MAR FILED
Transaction: ANNUAL REPORT FILED
Roll: 3137

Frame: 0804

File Date: 3/15/1936
Comments: 1986 MAR FILED

Transaction, ANNUAL REPORT FILED

Roll: 2901
Frame: 2804

File Date: 5/15/1985

Comments: 1985 MAR FILED
Transaction, ANNUAL REPORT FILED
Roll: 2714

Frame: 2596

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